
*848Memorandum. The order of the Appellate Division should be affirmed. Appellant failed to establish, as is necessary for a recovery, that he was sane at the time of his original commitment to Dannemora State Hospital or that he recovered his sanity at any time during his subsequent 29-year stay. (Dennison v State of New York, 28 AD2d 608, aifd 23 NY2d 996, cert den 397 US 923.) While not dispositive, it is significant to note that during the period in question appellant’s sanity was subject to judicial review on at least eight separate occasions. Each time his commitment to Dannemora State Hospital was sustained.
Chief Judge Breitel and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Cooke concur.
Order affirmed, without costs, in a memorandum.
